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                              UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,
                                                      Case No.: 3:20-cv-00381
                   Plaintiff,                         Hon. Judge Thomas M. Rose

v.

RED ROOF INNS, INC.,

                   Defendant.


     DEFENDANT RED ROOF INNS, INC.’S AMENDED MOTION FOR SUMMARY
                              JUDGMENT

         Defendant Red Roof Inns, Inc. (“RRI”) moves the Court pursuant to Rule 56 of the Federal

Rules of Civil Procedure and all other applicable law, for summary judgment as to the claims

asserted by Plaintiff, the Equal Employment Opportunity Commission’s (“Plaintiff). Defendant is

entitled to summary judgment for the following reasons: (1) Wesley Derby failed to request an

accommodation from RRI; (2) the Plaintiff has not articulated that a reasonable accommodation

exists and is “objectively reasonable”; (3) the Plaintiff has failed to establish that a ‘reasonable’

accommodation is possible; and (4) the Plaintiff has not shown Mr. Derby was “otherwise qualified”

for the position, as required to establish a prima facie case and to survive summary judgment.

         This Motion is fully supported by the following memorandum in support and attached

Exhibits. A proposed order granting summary judgment is attached.




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                                    Respectfully submitted,

                                    /s/ Katherine L. Kennedy __________________
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                                MEMORANDUM IN SUPPORT

         I.        INTRODUCTION

         Plaintiff makes several contentions that RRI’s conduct deprived Wesley Derby of equal

employment opportunities because of his disability. Plaintiff alleges that RRI “was aware of

Derby’s disability and failed to accommodate Derby to allow for his participation in the

information [sic] seminar.” (Complaint, Doc. No. 1 ¶ 26, PageID #: 5.) Furthermore, Plaintiff

alleges that RRI “failed to accommodate Derby to allow for his participation in the application

process for the promotion.” Id. at ¶ 27, PageID #: 5. Plaintiff also alleges that RRI “failed to

engage in the interactive process” and ultimately denied “Derby the promotion because of his

disability and need for accommodation.” Id. ¶¶ 28-29, PageID #: 5-6.

         Under binding Sixth Circuit precedent, Mr. Derby was required to request an

accommodation. Kleiber v. Honda of Am. Mfg., 485 F.3d 862, 870 (6th Cir. 2007). It is well-

established that as part of a prima facie case of failure to accommodate under the ADA, a plaintiff

bears the initial burden of proposing an accommodation, showing an accommodation is possible,

and “showing that the accommodation is objectively reasonable.” Id.

         Plaintiff has failed to meet this burden. The undisputed facts demonstrate that Mr. Derby

did not request an accommodation, nor was he “otherwise qualified” for the Property Connectivity

Coordinator (hereinafter “PCC”) position. Furthermore, Plaintiff has not demonstrated that a

reasonable accommodation existed in 2018 to allow Wesley Derby to perform the essential

functions of the PCC position, and Plaintiff has failed to meet its initial burden of establishing an

accommodation is “objectively reasonable.” For these reasons, RRI is entitled to summary

judgment as to all of Plaintiff’s claims.




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         II.       UNDISPUTED FACTUAL BACKGROUND

                   A. Factual Basis for Plaintiff’s Claims

         Wesley Derby is a visually impaired individual who formally worked at RRI’s Contact

Center beginning in 2016. (See Complaint, Doc. No. 1 at ⁋ 13, PageID #: 4.) Between 2016 and

2018, Mr. Derby was promoted within the company several times. (See attached selected excerpts

of Deposition of Wesley Derby (“Derby Depo.”), attached as Exh. A, at pp. 31, 77-78, 84.)

         Throughout his employment at RRI, Mr. Derby performed his job with the aid of Jobs

Access with Speech (“JAWS”) software. (Complaint, Doc. No. 1 at ⁋ 15, PageID #:4.) JAWS is

a computer screen reading program that allows visually impaired users to read the screen using

text-to-speech output. (See attached selected excerpts of Deposition of Dr. Mark Tudela (“Tudela

Depo.”), attached as Exh. B, at Exh. 8.) Scripting ensures a JAWS user can access and interact

with computer software. Id. JAWS scripting is best utilized, and software updates cause the least

amount of disruption to the company, on internal programs where updates occur in an orderly,

planned, and controlled manner. Id. at pp. 128-129.

         On April 23, 2018, Cheryl Eichelberger, the Online Connectivity Supervisor at the time,

internally announced a job opening for the PCC position via email. (Derby Depo. at 218.) Mr.

Derby did not respond to this initial email regarding the open position. Id. On May 2, 2018, Ms.

Eichelberger sent another internal email regarding an informational seminar related to the Online

Connectivity Team. Id.

         In response to Ms. Eichelberger’s e-mail about the informational seminar, Mr. Derby stated

that he was “interested” in checking out the seminar and “possibly applying.” (See Exh. 1 to Derby

Depo.) However, he did not apply for the position or complete a Position Interest Form at that

time. (See attached selected excerpts of Deposition of Shanna Wright (“Wright Depo.”), attached




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as Exh. C, at p. 124; attached selected excerpts of Deposition of Cheryl Eichelberger

(“Eichelberger Depo.”), attached as Exh. D, at Exh. 4; and Derby Depo. at 153.)

         The following email exchange consists of the entirety of Mr. Derby’s communications with

Ms. Eichelberger regarding the informational seminar and his interest in the PCC position.




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         (Eichelberger Depo., at Ex. 4.)

         The above email exchange consists of the entirety of communications between Ms.

Eichelberger and Mr. Derby and serves as the sole basis for Plaintiff’s claims in this case. Plaintiff

alleges that in this e-mail exchange, RRI “failed to accommodate Derby to allow for his

participation in the application process for the promotion.” (Complaint, Doc. No. 1 ¶ 27, PageID

#5.) Plaintiff also alleges that RRI “failed to engage in the interactive process” and ultimately

denied “Derby the promotion because of his disability and need for accommodation.” Id. ¶¶ 28-

29, PageID #: 5-6.

         Plaintiff’s claims fail, however, because it has not identified a reasonable accommodation

to allow Mr. Derby to perform the essential functions of a PCC in 2018. Furthermore, the

undisputed facts demonstrate that Mr. Derby did not request any accommodation whatsoever

related to his disability, and Plaintiff has failed to demonstrate Mr. Derby was “otherwise qualified”

for the PCC position. For these reasons, RRI is entitled to summary judgment.




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                   B. JAWS Integration with Applications used in the PCC role.

         Due to the known unpredictability and constantly changing nature of independent, third-

party websites utilized in the PCC position, and the inherent limitations of JAWS’ capabilities, Ms.

Eichelberger informed Mr. Derby, via email, that the systems utilized by a PCC did not integrate

with the JAWS software. (Wright Depo., pp. 112-114, 126-128; Eichelberger Depo. at Exh. 4.)

         An essential function of a PCC is to access, interact with, and utilize many third-party

websites that are outside of the RRI internal system and, therefore, outside of RRI’s control. (See

Wright Depo. at pp. 66-71; Tudela Depo. at p. 97; Eichelberger Depo, at pp. 57-66.) The third-

party websites include online travel agencies, extranets requiring login credentials, and other

public, independent websites. (See Wright Depo., pp. 66-71; Tudela Depo., pp. 115-116;

Eichelberger Depo., pp. 57-66.) As Ms. Eichelberger explained in her deposition, a PCC uses

online travel agency sites every day, and much of the job is performed on these third-party sites.

(Eichelberger Depo., pp. 58 – 68.)

         The online travel agency websites utilized by the PCC install changes to their software

frequently, on a weekly and sometimes even daily basis. (See Wright Depo., pp. 112-113.)

Because these sites are outside of RRI’s control, the changes to their software are performed

without notice to RRI. (Wright Depo. at 126; Tudela Depo., Ex. 8.) When a third-party website

updates its software, the JAWS scripting previously installed for that particular website will be

affected and may no longer be compatible with the third-party website’s updated software. (Tudela

Depo. at pp 130-131; Tudela Depo., Ex. 8.) Due to the frequent updates, lack of notice and

unpredictability of the third-party websites, RRI is unable to ensure accessibility to the essential

websites used in the PCC position. (Wright Depo. at pp. 112-114, 126-128; Tudela Depo., Ex. 8.)

It is impossible for the JAWS to be scripted in a predictive way to ensure future compatibility with




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unknown updates to the third-party websites utilized in the PCC position. (Tudela Depo. at pp.

130-131; Tudela Depo., Ex. 8.)

         When a third-party website installs one of its frequent updates, there may be a period of

“downtime” from the time the update is identified by a JAWS user who is unable to access the

website, or a specific feature of the website, until it can be addressed by a specialized JAWS

scripter. (Wright Depo. at pp. 112-114; Tudela Depo. at pp. 131-134; Tudela Depo., Ex. 8.) During

these periods of downtime, and without access to the third-party websites, JAWS user would be

unable to perform the essential functions of a PCC. (Id.; Eichelberger Depo. at pp. 57-66.)

Downtime is most common for JAWS user who utilizes scripting and third-party websites due to

the frequency and unpredictability of updates. (Id.; Tudela Depo., p. 134.) RRI is unable to plan

for, or reduce the inevitable disruption caused by downtime resulting from updates to third party

websites because the updates are installed without notice to RRI. (Wright Depo. at pp. 112-113,

126; Tudela Depo. at pp. 130-131; Tudela Depo., Ex. 8.)

         Wesley Derby himself admits to experiencing downtime when there are complications with

JAWS scripting and accessibility barriers. (Derby Depo., pp. 97-98.) For example, when Mr.

Derby was promoted to the Guest Relations department at RRI, he experienced three weeks of

downtime due to accessibility barriers and the availability of qualified JAWS scripters. Id. During

this period of downtime, Mr. Derby was unable to perform the functions of the new position. Id.

         III.      APPLICABLE LAW

                   A. Claims for Failure to Accommodate

         To survive summary judgment, and to establish a prima facie case of failure to

accommodate, an ADA plaintiff must show that: (1) he is disabled within the meaning of the ADA;

(2) he is otherwise qualified for the position, with or without reasonable accommodation; (3) his




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employer knew or had reason to know about his disability; (4) he requested an accommodation;

and (5) the employer failed to provide the necessary accommodation. Brumley v. United Parcel

Serv., Inc., 909 F.3d 834, 839 (6th Cir. 2018). As part of this prima facie case, a plaintiff “bears

the initial burden of proposing an accommodation and showing that that accommodation is

objectively reasonable.” Kleiber v. Honda of Am. Mfg., 485 F.3d 862, 870 (6th Cir. 2007).

Summary judgment is appropriate where a plaintiff fails to demonstrate that a requested

accommodation is reasonable. Cassidy v. Detroit Edison Co., 138 F.3d 629, 635 (6th Cir. 1998).

         In this case, Plaintiff has failed to establish several components required to make a prima

facie case and to survive summary judgment. Plaintiff has failed to establish Mr. Derby requested

an accommodation; that Mr. Derby was “otherwise qualified for the position;” and that a

reasonable accommodation is possible and “objectively reasonable.” For these reasons, RRI is

entitled to summary judgment.

                    1. RRI is Entitled to Summary Judgment Because Wesley Derby Did Not
                       Request an Accommodation.

         Under the ADA, and controlling Sixth Circuit precedent, “[t]he plaintiff . . . ‘bears the

initial burden of proposing an accommodation and showing that the accommodation is objectively

reasonable.’” Johnson v. Cleveland City Sch. Dist., 344 F. App’x 104, 111 (6th Cir. 2009) (quoting

Kleiber v. Honda of Am. Mfg., Inc., 485 F.3d 862, 870 (6th Cir. 2007)). As part of this initial

burden, the plaintiff must “show that he requested the specific accommodation; a plaintiff may not

rely on accommodations that he did not request.” Manigan v. Southwest Ohio Reg'l Transit Auth.,

385 Fed. Appx. 472 (6th Cir. 2010); see also, Aldini v. Kroger Co. of Michigan, 628 F. App’x 347,

350-51 (6th Cir. 2015) (employee bears the burden of requesting a reasonable accommodation and

thus if the employee does not propose an accommodation, the employee’s ADA claim must fail).




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         The Sixth Circuit has explained:

                   Our case law establishes no bright-line test for when the form of an
                   employee’s request is sufficiently clear to constitute a request for an
                   accommodation. On one hand, we have held that the ADA does not
                   require employees to ‘use the magic words ‘accommodation’ or
                   even ‘disability.’ On the other hand, ‘[t]he employer is not required
                   to speculate as to the extent of the employee's disability or the
                   employee's need or desire for an accommodation.’ The employee
                   also must make it clear that the request is being made because of the
                   employee's disability. Judge v. Landscape Forms, Inc., No. 14-1362,
                   592 Fed. Appx. 403, 2014 (6th Cir. 2014) (internal citations omitted).

         The ADA’s reasonable accommodation requirement does not apply unless “triggered by a

request” from the employee. Alsept v. Honda of Am. Mfg., 2013 U.S. Dist. LEXIS 77530 (S.D.

Ohio June 3, 2013). The employee’s request must be “sufficiently direct and specific,” giving

notice that he needs a special accommodation. Id. A disabled employee who requires an

accommodation “is saddled with the burden of proposing an accommodation and proving that it is

reasonable.” Jakubowski v. Christ Hosp., Inc., 627 F.3d 195, 202 (6th Cir. 2010).

                          a. Wesley Derby did not request an accommodation for the PCC
                             position.

         This e-mail correspondence between Mr. Derby and Ms. Eichelberger constitutes the only

instance of Mr. Derby expressing interest in the PCC position. Plainly stated, the email exchange

does not establish Mr. Derby requested an accommodation for the PCC position. Mr. Derby’s

email cannot be interpreted as a “request for a specific accommodation” as it relates to the PCC

position, as required by law to survive summary judgment. By his own admission, Mr. Derby

testified he never requested an accommodation while at Red Roof. (Derby Depo., pp. 124-125.)

Indeed, had Mr. Derby intended to request an accommodation, per RRI handbook, he should have

directed his request to the Human Resources Department. (See excerpts from Deposition of

Jennifer Wayman, attached as Exh. E, p. 40 and Exh. 1.)




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          Before their limited email exchange, Ms. Eichelberger did not know Mr. Derby

(Eichelberger Depo., pp. 81-82). She was not familiar with Mr. Derby’s JAWS capabilities,

knowledge, or work history. (Id. at 97.) Because Mr. Derby failed to request an accommodation,

Ms. Eichelberger correctly did not interpret his email as a request for an accommodation. (Id. pp.

94-95.)

          If Mr. Derby knew of a specific accommodation, or if he knew his skill set was superior to

other JAWS users that would allow him to perform the role when others could not, the law requires

him to request that specific accommodation. The law recognizes an employee is in the best position

to request a specific accommodation. The controlling law required Mr. Derby to request a specific

accommodation and his failure to do so is fatal to the Plaintiff’s claims.

                        b. RRI did not deny Mr. Derby the opportunity to attend the
                           informational seminar but offered Mr. Derby a reasonable
                           accommodation for attending the seminar in the near future.

          Mr. Derby was not denied the opportunity to attend an informational seminar, but rather,

was asked to wait until Ms. Eichelberger was able to determine how to present the seminar

remotely in the near future. A disabled person is not entitled to an accommodation of his choice

but rather a reasonable accommodation given the circumstances. Hedrick v. W. Reserve Care Sys.,

355 F.3d 444, 457 (6th Cir. 2004).

          Requesting Mr. Derby wait until a date “in the near future” to attend the seminar is

objectively reasonable. Mr. Derby’s email response indicates that Mr. Derby was satisfied with

this compromise and stated that he was “looking forward to more seminars in the future.”

Defendant’s suggested accommodation is reasonable given the circumstances.




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                    2. RRI is Entitled to Summary Judgment Because Plaintiff Has Failed to
                       Meet its Burden of Showing an Accommodation is Objectively
                       Reasonable.

         As part of its initial burden, the plaintiff must show “that the [proposed] accommodation

is reasonable in the sense both of efficacious and of proportional to costs.” Monette v. Elec. Data

Sys. Corp., 90 F.3d 1173, 1183 (6th Cir. 1996). Although Mr. Derby never requested an

accommodation, Plaintiff likewise has not shown an accommodation is possible and objectively

reasonable.

          “When the employee seeks a reasonable accommodation, he must establish that a

‘reasonable’ accommodation is possible and bears a traditional burden of proof that he is qualified

for the position with such reasonable accommodation.” Hoskins v. Oakland County Sheriff's Dep't,

227 F.3d 719, 728 (6th Cir. 2000). If, however, the plaintiff fails to demonstrate a proposed

accommodation is objectively reasonable, plaintiff fails to make a prima facie claim and the

defendant is entitled to summary judgment. Greiner v. Macomb Cty., 2019 U.S. App. LEXIS

24595 (6th Cir. 2019).

         Here, Plaintiff fails to meet its initial burden and fails to establish a prima facie case.

Plaintiff attempts to “skip” its initial burden of showing an accommodation is objectively

reasonable and attempts to improperly place the burden on the RRI to show “undue burden.”

However, the controlling law dictates that Plaintiff’s claims must fail because Plaintiff has failed

to demonstrate that an accommodation is objectively reasonable or possible.

         Generally, Plaintiff may contend that the reasonable accommodation was, effectively,

“make JAWS compatible.” However, such a general statement ignores the unpredictability of

uncontrolled, third-party websites and the inherent limitations of JAWS’ capabilities. Plaintiff’s

own expert further testified he cannot provide an opinion as to whether the PCC position could be




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made accessible, or whether any type of accommodation could be made by RRI in order to make

the PCC position accessible for Mr. Derby. (See excerpts from the deposition of Dan Buchness,

Exh. F, pp. 105 – 106, 116.) Without a showing that an accommodation is “possible,” and without

a showing that an accommodation is “objectively reasonable,” Plaintiff’s claims fail as a matter of

law. RRI is entitled to summary judgment on Plaintiff’s failure to accommodate claims.

                    3. Defendant is Entitled to Summary Judgment Because Plaintiff has Failed
                       to Establish Mr. Derby was “Otherwise Qualified” for the Position.

         As part of a prima facie showing required to survive summary judgment, a plaintiff must

also demonstrate that the employee is “otherwise qualified” for the position, with or without a

reasonable accommodation. Williams v. AT&T Mobility Servs. LLC, 847 F.3d 384, 391 (6th Cir.

2017). Thus, it is Plaintiff’s burden to establish that Mr. Derby was “otherwise qualified” for the

PCC position.

         Plaintiff cannot establish that Mr. Derby was “otherwise qualified” for the position within

the meaning of the ADA because the unpredictability of independent, third-party websites and the

inherent limitations of JAWS’ software, render Mr. Derby unable to perform the essential

functions of the job, with or without a reasonable accommodation. Because of the inherent

limitations of JAWS and the unpredictability of third-party websites, RRI was unable to ensure

accessibility for JAWS users to perform the essential functions of the PCC position.

         Updates to the third-party websites utilized in the PCC position are frequent and occur on

a weekly and sometimes daily basis. (Wright Depo. at pp. 112-113.) The updates to the third-party

websites affect the JAWS scripting previously installed and can render a JAWS user unable to

perform essential functions of the job; mainly the inability to access the third party websites which

encapsulates the large percentage of their job. Without access to the third-party websites utilized

by a PCC, an employee cannot perform the essential functions of the position. RRI is unable to




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plan for, or reduce the inevitable disruption caused by downtime resulting from updates to third

party websites because the updates are installed without notice to RRI.

         Plaintiff’s expert, Dan Buchness, spent 22.75 hours inspecting the websites and programs

utilized in the PCC position. (Buchness Depo., p. 47.) Further, Mr. Buchness testified each

application takes approximately 17 hours to diagnose and determine the possibility of providing

an accessibility solution, and he recognized during his inspection that “it became clear that there

were many applications” utilized by a PCC. (Id., pp. 10-12, 48, 51.) Despite Mr. Buchness’ 22.75

inspection, he cannot provide an opinion as to whether the PCC position could be made accessible.

(Id., pp. 105 – 106, 116.) Even now, Plaintiff’s retained expert admits he is unable to provide an

opinion concerning a specific type of accommodation that could have made the PCC position

accessible for Mr. Derby. (Id.) The undisputed facts demonstrate Plaintiff has not sustained its

burden of proving that Mr. Derby was otherwise qualified for the PCC position, with or without

an accommodation.

         RRI is entitled to summary judgment because Plaintiff has failed establish Mr. Derby was

“otherwise qualified” as a matter of law.

                   B. Summary Judgment is Warranted on Plaintiff’s Failure to Engage in the
                      Interactive Process Claim.

         The Sixth Circuit recognizes that “if the employee never requests an accommodation, the

employer’s duty to engage in the interactive process is never triggered.” Lockard v. Gen. Motors

Corp., 52 F. App'x 782, 788 (6th Cir. 2002). Furthermore, an employer is not liable for failing to

engage in the interactive process unless the plaintiff can show that a reasonable accommodation

was possible. See, Lafata v. Church of Christ Home for Aged, 325 F. App'x 416, 422 (6th Cir.

2009). (“Employers ‘who fail to engage in the interactive process in good faith face liability [under

the ADA] if a reasonable accommodation would have been possible.’”); Trout v. Aerospace



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Testing Alliance, 303 F. App'x 272, 274 (6th Cir. 2008); Breitfelder v. Leis, 151 F. App'x 379, 386

(6th Cir. 2005).

         It is undisputed that Mr. Derby never requested an accommodation related specifically to

the PCC position. As such, RRI’s duty to engage in the interactive process was never triggered.

Even now, Plaintiff has failed to establish that an accommodation of Mr. Derby is possible or

“objectively reasonable” as required by controlling law. Plaintiff’s claim based on failure to

engage in the interactive process fails as a matter of law.

                   C. RRI is Entitled to Summary Judgment on Plaintiff’s Failure to Promote
                      Claim

         Plaintiff further alleges that RRI denied Mr. Derby a promotion because of his disability

and need for accommodation. (Complaint, Doc. No. 1 ¶ 29, PageID #: 6.) In order to establish a

prima facie case of failure to promote, a plaintiff must demonstrate that: 1) he is a member of a

protected class; 2) he applied for and was qualified for a promotion; 3) he was considered for and

denied the promotion; and 4) other employees of similar qualifications who were not members of

the protected class received promotions at the time her request for promotion was denied. Nguyen

v. City of Cleveland, 229 F.3d 559, 562-563 (6th Cir. 2000); Mehr v. Starwood Hotels & Resorts

Worldwide, Inc., 72 Fed. Appx. 276, 282 (6th Cir. 2003).

         Plaintiff cannot make a prima facie case for failure to promote because it cannot show that

Mr. Derby applied for the PCC position in question. Mr. Derby never applied for the position; he

merely expressed interest in attending the informational seminar, and “possibly” applying to the

open position. At most, he expressed only a general interest in the open position, and this is not

enough to meet the application requirement. Bolden v. Lowes Home Ctrs., LLC, 783 Fed. Appx.

589, 596 (6th Cir. 2019).




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                   D. Plaintiff’s Claim for Punitive Damages Fails as a Matter of Law

         Punitive damages are only available under the ADA when “the complaining party

demonstrates that the respondent engaged in a discriminatory practice ... with malice or with

reckless indifference.” 42 U.S.C. § 1981a(b)(1) (2000). The terms “malice” or “reckless

indifference” in 42 USCS § 1981a(b)(1) pertain to employer’s knowledge that it may be acting in

violation of federal law, not its awareness that it is engaging in discrimination. David v. Caterpillar,

Inc., 185 F. Supp. 2d 918 (C.D. Ill. 2002).

             Here, Plaintiff’s claim for punitive damages fails because the undisputed facts fail to

establish “malice” or “reckless indifference” as a matter of law. Plaintiff’s entire case is based

exclusively on an email exchange between Mr. Derby and Ms. Eichelberger. Before the email

exchange, Ms. Eichelberger did not know Wesley Derby, and Ms. Eichelberger was not familiar

with his JAWS capabilities or work history (Eichelberger Depo. at pp. 81-82, 97.) Because Mr.

Derby failed to request an accommodation, Ms. Eichelberger correctly did not interpret his email

as a request for an accommodation. (Id. at p. 94-95). The tone of Ms. Eichelberger’s e-mail is not

malicious; indeed, she used a “smile” emoji. (Id. at Ex. 4.) Her undisputed testimony establishes

her intent was to help Mr. Derby avoid unnecessary expenses (Id. at 96.). Plainly stated, there is

no evidence to support a finding that Defendant acted with the requisite “malice”, or “reckless

disregard” required to support a punitive damages award.

         The undisputed facts and controlling law establish that RRI is entitled to summary

judgment on Plaintiff’s punitive damages claim.




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         IV.       CONCLUSION

         The Court should grant summary judgment in favor of RRI because the EEOC has not

established that Mr. Derby was “otherwise qualified,” Mr. Derby failed to request a reasonable

accommodation, Plaintiff has not articulated that a reasonable accommodation exists, and Plaintiff

has failed to demonstrate that any proposed accommodation is ‘objectively reasonable,’ as required

to establish a prima facie case and survive summary judgment.

                                             Respectfully submitted,

                                             /s/ Katherine Kennedy______________
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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 30th day of March 2022, the foregoing Motion for Summary

Judgment was electronically filed with the Court, electronically serving all counsel of record in

this case.

                                             /s/ Katherine Kennedy
                                             Katherine Kennedy




4858-2637-2118.3                               18
